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JUN 1 7 2020

IN THE UNITED STATES DISTRICT COURT —-¢ ERRORS SHOWA
FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ). Criminal No. 4:20-CR-103
)
v. ) INDICTMENT
)
RYAN DON ANDREW FORD, ) T.18US.C. § 2251(a)
) TT. 18 U.S.C. § 2251)
Defendant. ) TT. 18 U.S.C. § 2252A(a)(2)
) TT. 18 U.S.C. § 2252A(a)(5)(B)
) .18U.S.C. § 2252A(b)(1)
) 1.18 U.S.C. § 2252A(b)(2)
) T.18 U.S.C. § 2253
THE GRAND JURY CHARGES:

COUNT 1
(Production of Child Pornography)

On a date unknown, but on or between July 19, 2018, and August 28, 2018, in
the Southern District of lowa, defendant RYAN DON ANDREW FORD did knowingly
employ and use a minor, Child Victim #1, to engage in sexually explicit conduct for
the purpose of producing a visual depiction of such conduct, specifically images
captured by a camera hidden above a shower depicting Child Victim #1 engaging in
sexually explicit conduct. Said visual depictions were transmitted from the hidden
camera to an Apple iPhone and retained on said telephone. Defendant RYAN DON
ANDREW FORD knew and had reason to know that such visual depictions would be
transmitted using a means and facility of interstate commerce, specifically the
cellular telephone systems or internet. Said visual depictions were produced and
transmitted using materials that have been transported in interstate commerce,

specifically an Apple iPhone cellular telephone. Said visual depictions were actually
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transmitted using a means and facility of interstate commerce, specifically the
cellular telephone systems or internet.
This is a violation of Title 18, United States Code, Section 2251(a) and (e).
THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Production of Child Pornography)

On a date unknown, but on or between July 19, 2018, and August 28, 2018, in
the Southern District of Iowa, defendant RYAN DON ANDREW FORD did knowingly
employ and use a minor, Child Victim #2, to engage in sexually explicit conduct for
the purpose of producing a visual depiction of such conduct, specifically images
captured by a camera hidden above a shower depicting Child Victim #2 engaging in
sexually explicit conduct. Said visual depictions were transmitted from the hidden
camera to an Apple iPhone and retained on said telephone. Defendant RYAN DON
ANDREW FORD knew and had reason to know that such visual depictions would be
transmitted using a means and facility of interstate commerce, specifically the
cellular telephone systems or internet. Said visual depictions were produced and
transmitted using materials that have been transported in interstate commerce,
specifically an Apple iPhone cellular telephone. Said visual depictions were actually
transmitted ‘using a means and facility of interstate commerce, specifically the
cellular telephone systems or internet.

This is a violation of Title 18, United States Code, Section 2251(a) and (e).
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THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Receipt of Child Pornography)

From at date unknown but by at least August 2018 to on or about February
23, 2019, in the Southern District of Iowa, the defendant, RYAN DON ANDREW
FORD, knowingly received child pornography, as defined in Title 18, United States
Code, Section 2256(8)(A), that had been, using any means and facility of interstate
and foreign commerce, shipped and transported in and affecting interstate and
foreign commerce by any means, including by computer.

This is a violation of Title 18, United States Code, Section 2252A(a)(2) and
2252A(b)(1).

THE GRAND JURY FURTHER CHARGES:

COUNT 4
(Possession of Child Pornography)

On or about June 21, 2019, in the Southern District of Iowa, the defendant,
RYAN DON ANDREW FORD, knowingly possessed material, namely, a black Apple
iPhone Model A1660, IME] 355308084075561, that contained images of child
pornography as defined in Title 18, United States Code, Section 2256(8)(A), including
images involving prepubescent minors and minors who had not attained 12 years of
age, such images having been shipped and transported using any means and facility
of interstate and foreign commerce and in and affecting interstate and foreign

commerce by any means, including by computer, and such images having been
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produced using materials that had been shipped and transported in and affecting
interstate and foreign commerce by any means, including by computer.

This is a violation of Title 18, United States Code, Section 2252A(a)(5)(B) and

2252A(b)(2).

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

If defendant RYAN DON ANDREW FORD is convicted of Counts 1, 2, 3, or 4,

he shall forfeit to the United States his interest in the following property:

a. Any and all visual depictions of minors engaging in sexually explicit
conduct, including any book, magazine, periodical, film, videotape, or other
matter which contains any such visual depiction, which was produced,
transported, mailed, shipped or received in violation of Title 18, United
States Code, Chapter 110.

b. Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense, including but not limited to a black
Apple iPhone cellular phone Model A1660, IMEI 355308084075561.

This is pursuant to Title 18, United States Code, Section 2253.

A TRUE BILL.

FOREPERSON

Mare Krickbaum
United States Attorney

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Adam J. Kerndt
Assistant United States Attorney

 
